Case 1:23-cv-00796-PLM-SJB ECF No. 21, PageID.61 Filed 01/22/24 Page 1 of 5




                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MIKE YODER, DRONE DEER

RECOVERY INC. and

JEREMY FUNKE,                              Case No. 1:23-CV-796

                   Plaintiffs,             HON. PAUL L. MALONEY
                                           HON. SALLY BERENS
      vs.

SCOTT BOWEN, in his official

capacity as Director of the Michigan

Department of Natural Resources,

                  Defendant.
________________________________________________________________________

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________________________________________________________________________

                  STIPULATION AND [PROPOSED] ORDER

      GRANTING LEAVE TO FILE A FIRST AMENDED COMPLAINT

            AND STAYING TRIAL DATE AND RELATED DEADLINES

      Plaintiffs Mike Yoder, Drone Deer Recovery Media, Inc., and Jeremy Funke,

and Defendant Scott Bowen, in his official capacity as Director of the Michigan




                                       1
Case 1:23-cv-00796-PLM-SJB ECF No. 21, PageID.62 Filed 01/22/24 Page 2 of 5




Department of Natural Resources, submit the following Joint Stipulation that

Plaintiffs be granted leave to file a First Amended Complaint pursuant to Rule

15(a)(2), and that the trial date and related deadlines in this matter, including

discovery deadlines, be stayed. In support of this Stipulation, the Parties state the

following:

      1.     Plaintiffs filed the Complaint in this matter on July 27, 2023. Dkt. 1.

      2.     On September 25, 2023, Defendant filed an Answer to Plaintiffs’

Complaint. Dkt. 9.

      3.     On October 31, 2023, the Court held a Scheduling Conference with the

parties and issued a Case Management Order on November 2, 2023, setting a trial

date for April 15, 2025, and other related deadlines.

      4.     On December 15, 2023, counsel for the parties met and conferred

regarding Plaintiffs’ intention to file an Amended Complaint. On January 5, 2023,

Plaintiffs provided Defendant with the proposed First Amended Complaint.

      5.     On January 8, 2024, Defendant’s counsel informed Plaintiffs’ counsel

that Defendant will consent to Plaintiffs filing the First Amended Complaint, and

that Defendant will file a Motion to Dismiss in response.

      6.     Counsel for the parties met and conferred on January 12, 2024,

regarding a briefing schedule and pausing deadlines in the Case Management Order

in light of the First Amended Complaint and the Motion to Dismiss to be filed in

response.




                                          2
Case 1:23-cv-00796-PLM-SJB ECF No. 21, PageID.63 Filed 01/22/24 Page 3 of 5




      NOW, THEREFORE, the parties hereby respectfully request that the Court:

grant Plaintiffs leave to file a First Amended Complaint in this action, a true and

correct copy of which is attached here as Exhibit A; modify the Case Scheduling Order

to stay the current trial date and related deadlines, including discovery deadlines;

and set the alternative deadlines in this matter as stipulated by the Parties below, or

set similar dates in accordance with the Court’s availability:

Event                                               Revised Date

Filing of First Amended Complaint                   February 2, 2024

Motion to Dismiss First Amended Complaint           February 16, 2024

Response to Motion to Dismiss                       March 15, 2024

Reply in Support of Motion to Dismiss               April 5, 2024


      Should the above-proposed dates be inconvenient for the Court, the Parties

respectfully request a similar extension of the deadlines in this case to dates that suit

the Court’s schedule and convenience.

      STIPULATED this 22nd day of January, 2024.

                                               Respectfully submitted,

                                               DONNA G. MATIAS
                                               ANDREW QUINIO
                                               Pacific Legal Foundation


                                               By ______/s/ Andrew Quinio______
                                               ANDREW QUINIO CSB#288101
                                               Attorneys for Plaintiffs MIKE YODER,
                                               DRONE DEER RECOVERY LLC, and
                                               JEREMY FUNKE




                                           3
Case 1:23-cv-00796-PLM-SJB ECF No. 21, PageID.64 Filed 01/22/24 Page 4 of 5




                                        NATHAN A. GAMBILL (P75506)
                                        ECHO ALOE (P86363)
                                        Assistant Attorneys General


                                        By _____/s/ Nathan A. Gambilll_____
                                        NATHAN A. GAMBILL (P75506)
                                        Attorneys for State Defendant
                                        SCOTT BOWEN, in his official capacity
                                        as Director of the Michigan Department
                                        of Natural Resources




                                    4
Case 1:23-cv-00796-PLM-SJB ECF No. 21, PageID.65 Filed 01/22/24 Page 5 of 5




                             [PROPOSED] ORDER

      Good cause appearing, IT IS HEREBY ORDERED that Plaintiffs are granted

leave to file the First Amended Complaint, a copy of which is attached hereto as Ex-

hibit A.

      IT IS ALSO ORDERED that the trial date in this matter and all deadlines

as set forth in the Case Management Order of November 2, 2023, are stayed.

      IT IS FURTHER ORDERED that the deadlines related to the filing of the

First Amended Complaint will be set as stipulated by the parties. Alternatively, the

deadlines related to the First Amended Complaint are as follows:

Event                                             Revised Date

Filing of First Amended Complaint

Motion to Dismiss First Amended Complaint

Response to Motion to Dismiss

Reply in Support of Motion to Dismiss


      IT IS SO ORDERED

      Dated this ______ day of _______________, 2024.



                                             _____________________________________
                                             HON. PAUL MALONEY
                                             UNITED STATES DISTRICT COURT
                                             JUDGE or
                                             HON. SALLY BERENS
                                             UNITED STATES MAGISTRATE
                                             JUDGE




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